Case 1:17-cr-00647-RJD-RER Document 21 Filed 02/07/18 Page 1 of 2 PageID #: 57




                                                                February 7, 2018

The Honorable Raymond J. Dearie
Senior U.S. District Court Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

                        Re: U.S.A. v. Maksim Zaslavskiy, 17 CR 647 (RJD)

Your Honor:

        At the status conference on January 25, 2018, we requested a modification to Mr.
Zaslavskiy’s bond, to permit him to travel to Puerto Rico. Mr. Zaslavskiy was seeking
permission to make two trips; the first, to complete and have notarized certain documents related
to tax incentives for business. The second, to further investigate the real estate business in Puerto
Rico and to sit for the real estate broker licensing examination.

        Mr. Zaslavskiy purchased an airline ticket to Puerto Rico, but after further discussion, it
appears that Mr. Zaslavskiy is not yet at the stage in his business to file the tax documents. He
therefore respectfully requests permission to travel to Puerto Rico to investigate the real estate
business there, and possibly sit for the real estate broker licensing examination. Given that this
request is a change from the purpose of the trip described at the status conference, Assistant U.S.
Attorney Julia Nestor requested we submit an updated request to the Court. U.S. Pretrial Officer
Jayme Rosado is out of the office until February 12, 2018, so we are unable to provide the Court
with his position on the travel.

        Mr. Zaslavskiy purchased a ticket for travel from Feb 13 through Feb 21, 2018. He now
plans to talk to real estate brokers and construction companies to figure out the prices per sq
meter of property available, and view property; see the state of island recovery after the
hurricane, in terms of whether investment is still viable; meet with an accountant to talk about
what he needs to do to form a real estate company in Puerto Rico; meet with an attorney with
immigration knowledge to understand how property sales and investments to individuals living
outside of Puerto Rico and the United States would work; and attend religious services from
Friday through Saturday. He will also check in with the online school that he has been studying
with for the real estate broker’s exam and see if he is ready to take the test. If he is, he will sit for
the exam. As requested at the court appearance, he will report to a pretrial officer in Puerto Rico.
Case 1:17-cr-00647-RJD-RER Document 21 Filed 02/07/18 Page 2 of 2 PageID #: 58



       We therefore respectfully request that Mr. Zaslavskiy be permitted to travel to Puerto
Rico from February 13 through February 21, 2018.

                                                    Respectfully submitted,


                                                    Mildred M. Whalen
                                                    Staff Attorney
                                                    (718) 330-1290

cc:    Assistant U.S. Attorney Julia Nestor, Esq. (via email and ECF)
       U.S. Pretrial Officer Jayme Rosado (via email)
       ECF




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